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AML Bitcoin - February 2018 Zero Balance Accounts

(March 1, 2018 | DP

| Client Name INV # Date Amount Balance
AML Bitcoin Zero Balances February 1st - February 9th, 2018
DP 02/14/2018
mounir INV-4520 2/1/2018 3,704.00 0
John INV-4521 2/1/2018 300.00 0
Ms Firoz Kabir Jewel INV-4522 2/1/2018 7,500.00 0
Gerald Casilli INV-4523 2/1/2018 1,000.00 0
John Black INV-4524 2/1/2018 300.00 0
Seth Mankin INV-4525 2/1/2018 22,500.00 0
Martha Amitay INV-4526 2/1/2018 300.00 0
Edmond Lim INV-4527 2/1/2018 7,500.00 0
CHAIM EKSTEIN INV-4529 2/1/2018 1,500.00 0
Laurie Mackenzie INV-4530 2/1/2018 1,500.00 0
Nabin k karki INV-4531 2/1/2018 900.00 0
Gerald Casilli INV-4533 2/1/2018 9,000.00 0
Christina tran INV-4534 2/1/2018 1,950.00 0
Barry Fay INV-4536 2/1/2018 10,500.00 0
Torgom Vartanyan INV-4537 2/1/2018 300.00 0
Torgom Vartanyan INV-4538 2/1/2018 300.00 0
Maurice James Toal INV-4540 2/1/2018 3,000.00 0
|Greg Hechavarria INV-4544 2/1/2018 597.00 0
Roseblanche Hair INV-4546 2/1/2018 1,500.00 0
robert farr INV-4548 2/1/2018 500.00 0
Albert Tan Kim Seng INV-4549 2/1/2018 3,000.00 0
Ayo O Lawson INV-4550 2/1/2018 1,500.00 0
Jason H Bourland INV-4552 2/1/2018 300.00 0
William Tharp INV-4553 2/1/2018 300.00 0
Margie Carroll INV-4555 2/1/2018 1,500.00 0
Brion Long INV-4556 2/1/2018 525.00 0
Nate INV-4559 2/1/2018 300.00 0
Andrew Peterson INV-4563 2/2/2018 393.00 0
Martin O'Regan INV-4564 2/2/2018 10,000.00 0
John Affuso INV-4565 2/2/2018 400.00 0
Shay Dorling INV-4566 2/2/2018 300.00 0
Douglas Feuerbach INV-4568 2/2/2018 600.00 0
Helen Bruno INV-4570 2/2/2018 900.00 0
Ronald Switzer INV-4572 2/2/2018 800.00 0
Tatyana Kab INV-4575 2/2/2018 300.00 0
Paul David Shelor Jr INV-4576 2/2/2018 425.00 0
Dana Bell INV-4577 2/2/2018 558.00 0
Stuart Durie INV-4581 2/2/2018 300.00 0
Joseph Torossian INV-4586 2/2/2018 600.00 0
Eric Bonnette INV-4589 2/3/2018 1,000.50 0
Joshua Calligan INV-4591 2/3/2018 500.00 0
Joe Hart INV-4596 2/3/2018 300.00 0
Adam Richardson INV-4597 2/3/2018 1,140.00 0
Nemia Matuto INV-4599 2/3/2018 600.00 0
Terence Payet INV-4602 2/3/2018 3,000.00 0
Stephanie Hood INV-4603 2/3/2018 1,000.50 0
Stephanie Lim INV-4604 2/3/2018 7,500.00 0
DECLAN JOYCE INV-4608 2/3/2018 2,230.00 0
Douglas Cornish INV-4612 2/4/2018 300.00 0
Andrea Davidson INV-4613 2/4/2018 1,500.00 0
Igor Dusa INV-4615 2/4/2018 1,500.00 0
estelle m. ngo lissouck INV-4617 2/4/2018 750.00 0
Shlome Masri INV-4623 2/4/2018 900.00 0
renard carroll INV-4625 2/4/2018 300.00 0
Syed Faraz ul-haque INV-4626 2/4/2018 300.00 0
Dora Eva Varallyay INV-4630 2/4/2018 1,050.00 0
AKM Niamul Haque INV-4631 2/4/2018 300.00 0
Samer Mawad INV-4632 2/4/2018 4,000.00 0
Chadwick Ferguson |INV-4635 2/5/2018 1,500.00 0
Lim kheng ann INV-4636 2/5/2018 375.00 0
Trevor James INV-4639 2/5/2018 3,500.00 0

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Daniel Vuong INV-4641 2/5/2018 375.00 0
Victor R Rosario INV-4643 2/5/2018 700.00 0
Jonathan Hochman INV-4644 2/5/2018 1,000.00 0
Martha Amitay INV-4645 2/5/2018 300.00 0
Sajit Koshy INV-4649 2/5/2018 1,000.00 0
Diana Donaghy INV-4650 2/5/2018 1,470.00 0
Marcellars Mason INV-4652 2/5/2018 300.00 0
|Mirza Paglinawan INV-4653 2/5/2018 300.00 0
Sajit Koshy INV-4654 2/5/2018 1,000.00 0
Daniel Ferrendino INV-4656 2/5/2018 550.00 0
Susumu Blackwolf |INV-4657 2/5/2018 1,500.00 0
michael brown INV-4658 2/5/2018 801.00 0
Jonathan Carpino INV-4659 2/5/2018 2,250.00 0
Block Bits Capital INV-4660 2/5/2018 197,000.00 0
Steve INV-4663 2/5/2018 2,000.00 0
Andre Hart INV-4666 2/5/2018 300.00 0
Robert Brentnall INV-4667 2/5/2018 300.00 0
Aziz Denian INV-4669 2/6/2018 5,000.00 0
Ou Saeteurn INV-4670 2/6/2018 600.00 0
Jessie Roldan INV-4671 2/6/2018 1,500.00 0
Anthony Spoleti INV-4673 2/6/2018 1,200.00 0
Francine Rubino INV-4675 2/6/2018 300.00 0
Mt Andoo INV-4677 2/6/2018 300.00 0
Bhesh Raj Poudel INV-4682 2/6/2018 300.00 0
Matthew Amundson INV-4683 2/6/2018 510.00 0
Anjanette Posey INV-4689 2/6/2018 300.00 0
|Nezam Dulal INV-4696 2/7/2018 300.00 0
|Ravi Prasad’ Nampally INV-4699 2/7/2018 350.00 0
Manikandan INV-4700 2/7/2018 725.00 0
Olivia Avila INV-4702 2/7/2018 450.00 0
Aram Muradyan INV-4704 2/7/2018 300.00 0
Andrew Bernard INV-4705 2/7/2018 300.00 0
tim Hornby INV-4706 2/7/2018 27,000.00 0
Talal Abed Al Khalek INV-4708 2/7/2018 2,100.00 0
Gurpreet Gill INV-4709 2/7/2018 300.00 0
Lionel Lecomte INV-4711 2/7/2018 525.00 0
Harolt gaton INV-4712 2/7/2018 300.00 0
RYAN WHITE INV-4714 2/7/2018 4,500.00 0
Giganeshkumar Sheth INV-4715 2/7/2018 750.00 0
Arvin Nakshan INV-4716 2/7/2018 4,500.00 0
Jesse rice INV-4717 2/7/2018 600.00 0
Apurva Shanker INV-4721 2/7/2018 800.00 0
Ronni Mancinelli INV-4722 2/7/2018 300.00 0
Nicholas Mousseau INV-4723 2/7/2018 1,800.00 0 |
Elie Mattar INV-4733 2/8/2018 1,950.00 0
Sean INV-4734 2/8/2018 1,700.00 0
Juan Pablo Martinez INV-4735 2/8/2018 1,500.00 0
judith m bleichfeld INV-4739 2/8/2018 6,000.00 0
judith m bleichfeld |INV-4744 2/8/2018 2,000.00 0
Ovsep Kolsuzyan |INVv-4745 2/8/2018 300.00 0
matt alson INV-4746 2/8/2018 750.00 0
Benjamin Boyer INV-4748 2/8/2018 1,500.00 0
Danny INV-4750 2/8/2018 500.00 0
matt alson INV-4753 2/8/2018 4,200.00 0
Torgom Vartanyan INV-4758 2/8/2018 300.00 0
Grant Evans INV-4760 2/8/2018 480.00 0
Vivilyn Peterson INV-4761 2/8/2018 1,000.00 0
Angelina Lapid INV-4765 2/9/2018 999.00 0
ATRACOM Kft. Attila GyAxre INV-4767 2/9/2018 300.00 0
Nayla Alson INV-4768 2/9/2018 4,200.00 0
Susanne INV-4771 2/9/2018 300.00 0
Mohammed Ziaur Rahman INV-4772 2/9/2018 750.00 0
tejuskumar narendracumar INV-4779 2/9/2018 300.00 0
Bharatkumar Ramji INV-4780 2/9/2018 500.00 0 |
robert farr INV-4781 2/9/2018 9,300.00 0
CHAIM EKSTEIN INV-4783 2/9/2018 900.00 0
Bradley Boyd INV-4784 2/9/2018 300.00 0
Thomas Greco INV-4786 2/9/2018 500.00 0
Richard Hill INV-4787 2/9/2018 300.00 0
Daren Beazley INV-4788 2/9/2018 4,500.00 0 |

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Todd Irwin INV-4790 2/9/2018 375.00 0 *228,798.00
Sean INV-4797 2/9/2018 1,628.00 0 217,288.00
David Dominguez INV-4798 2/9/2018 500.00 0
446,086.00

AML Bitcoin Zero Balances February 10th - February 15th, 2018

DP 02/16/2018

omer aftab INV-4799 2/10/2018 300.00 0
Dany Kastoun INV-4802 2/10/2018 3,000.00 0
CHIFOR CHRISTIAN INV-4803 2/10/2018 400.00 0
JOHN FULLER INV-4806 2/10/2018 1,500.00 0
Imam tohari INV-4807 2/10/2018 300.00 0
Sumanth Narra INV-4811 2/10/2018 5,000.00 0
Dijendra Singh INV-4815 2/10/2018 400.00 0
Mosaab A. Hasan INV-4820 2/10/2018 2,250.00 0
|Menachem Klein INV-4821 2/10/2018 3,000.00 0
Thomas J Rhodes |INV-4822 2/10/2018 3,000.00 0
Sami Hawatmeh |INV-4824 2/10/2018 300.00 0
Yvonne Joseph JINV-4825 2/10/2018 450.00 0
SEO YOUNG WOOK INV-4830 2/11/2018 500.00 0
navin pratap INV-4832 2/11/2018 550.00 0
shraiber INV-4837 2/11/2018 300.00 0
Aman Sandhar INV-4841 2/11/2018 300.00 0
Robert Weaver INV-4842 2/11/2018 500.00 0
JANAK KUMAR DESAI INV-4843 2/11/2018 3,000.00 0
Richard Randle INV-4845 2/11/2018 300.00 0
Steven waxman INV-4847 2/11/2018 2,250.00 0
Dennis Denton INV-4848 2/11/2018 400.00 0
Dolly Cedeno INV-4858 2/11/2018 496.50 0
{Kevin D Hill INV-4869 2/12/2018 300.00 0
|Boubacar Ndiaye INV-4872 2/12/2018 22,500.00 0
|Mudassi ir Ahmed INV-4873 2/12/2018 300.00 0
|SEO YOUNG WOOK INV-4874 2/12/2018 500.00 0
|Nicholas Noonan INV-4875 2/12/2018 300.00 0
Kathy Parsons INV-4882 2/12/2018 1,500.00 0
Eduardo Serrata INV-4886 2/12/2018 450.00 0
Dan O'Donnell INV-4888 2/12/2018 900.00 0
Neil williams |INV-4889 2/12/2018 300.00 0
Jamie kempson INV-4890 2/12/2018 300.00 0
Joel Lebovits INV-4891 2/12/2018 300.00 0
Jitendra Rao INV-4892 2/12/2018 750.00 0
George Janicki INV-4893 2/12/2018 1,867.00 0
Mary Sandor INV-4894 2/12/2018 300.00 0
Edward LoVallo INV-4898 2/12/2018 1,500.00 0
Jeffrey Gonzalez INV-4901 2/12/2018 300.00 0
Joonki INV-4902 2/12/2018 1,800.00 0
Charles Earl INV-4903 2/12/2018 750.00 0
Alireza Aliaskari INV-4908 2/12/2018 4,500.00 0
Jerome Jimason INV-4909 2/12/2018 300.00 0
Raquel Cornejo INV-4911 2/12/2018 300.00 0
anandchennupati INV-4913 2/12/2018 7,500.00 0
Jasjot Narula INV-4916 2/12/2018 6,000.00 0
Arkady Teplitsky INV-4917 2/12/2018 300.00 0
Sean Covin INV-4919 2/12/2018 300.00 0
Chunwon Lee INV-4922 2/12/2018 1,600.00 0
Joel Solomon INV-4923 2/13/2018 300.00 0
Elie Mattar INV-4928 2/13/2018 360.00 0
HARLEY KEYES INV-4930 2/13/2018 1,892.00 0
JA%rg Baur INV-4932 2/13/2018 3,000.00 0
taedeok Seo INV-4933 2/13/2018 1,000.00 0
Jonathan Hochman INV-4936 2/13/2018 650.00 0
Daniel Vuong INV-4937 2/13/2018 375.00 0
lissette schettini INV-4938 2/13/2018 500.00 0
Vera Chamberland INV-4941 2/13/2018 300.00 0
Leslie J Cuneo INV-4942 2/13/2018 1,500.00 0
Jared McCarroll INV-4945 2/13/2018 300.00 0
Philip Downey Essner INV-4946 2/13/2018 5,000.00 0

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302,637.50

29,567.00

Arica Essner |INV-4947 2/13/2018 750.00 0
Austin Recht [inv-4949 2/13/2018 1,000.00 0
Isaac Minshall-Tierney |INV-4957 2/13/2018 700.00 0
Michele Parker |INV-4958 2/13/2018 333.00 0
[Alexandra Lebedeff |INV-4961 2/13/2018 300.00 0
KISHORE KALAL |INV-4964 2/13/2018 3,000.00 0
Jacob INV-4969 2/13/2018 275.00 0
samy samy INV-4981 2/14/2018 300.00 0
Zayed INV-4985 2/14/2018 1,500.00 0
Bruce Park INV-4986 2/14/2018 900.00 0
Ari InkilAtinen INV-4988 2/14/2018 351.00 0
Philip Downey Essner [inv-4992 2/14/2018 3,900.00 0
Lin wu [INv-5001 2/14/2018 480.00 oO
Molly O'Rourke |INV-5002 2/14/2018 525.00 oO
Caio Guimaraes |INV-5006 2/14/2018 600.00 0
Block Bits Capital INV-5007 2/14/2018 214,500.00 0
Patrick White INV-5008 2/14/2018 3,000.00 0
Christopher DiFatta INV-5009 2/14/2018 400.00 0

332,204.50

Including Invoices Added After Original Report Date:

Feb 1-9: 446,086.00
Feb 10-15: 332,204.50
778,290.50

778,290.50

EX3135-004
